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                                                                                             Apr 1, 2021

                              UNITED STATES D ISTRICT CO UR T
                              SO UTH ER N D ISTR ICT O F FLO RIDA
                   21-20195-CR-WILLIAMS/MCALILEY
                        Case No.
                                       18U.S.C.j2261A(2)(B)

    UN ITED STA TES O F A M ERICA

    VS.

    CH A RLES TERRA NCE JO H N SO N,

                   D efendant.
                                                  /

                                           IND IC TM EN T

           The Grand Jury chargesthat:

                                              CO UN T 1
                                              Stalking
                                       18U.S.C.j2261A(2)(B)
           Beginning in oraroundN ovem ber2020 and continuing through on oraboutN ovem ber22,

    2020,in M iam i-D ade County,in the Southern DistrictofFlorida,and elsew here,the defendant,

                                 CH A RIUES TE        CE JO HN SO N ,

    did, with the intent to harass and intim idate, use an interactive com puter service, electronic

    com m unication service,electronic com m unication system of interstate com m erce,and any other

    facility ofinterstate and foreign com m erceto engage in a course ofconductthatcaused,atlem pted

    to cause,and would be reasonably expected to cause substantial em otional distress to victim

    A.M.E.,inviolationofTitle18,UnitedStatesCode,Section2261A(2)(B).
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                                             CO UN T 2
                                              Stalking
                                     18U.S.C.j2261A(2)(B)
          Beginning in or around N ovem ber 2020 and continuing through on or aboutJanuary 14,

  2021,in M iam i-D ade County,in the Southern DistrictofFlorida,and elsew here,the defendant,

                              CH A R LES TE RR AN C E JO H N SO N ,

   did,with the intent to harass and intimidate,use an interactive com puter service,electronic

   com m unication service,electronic com m unication system ofinterstate com m erce,and any other

   facilityofinterstate and foreign com merceto engageinacourseofconductthatcaused,attempted

   to cause,and would be reasonably expected to cause substantialem otionaldistress to victim

   R.E.V.,inviolation ofTitle18,UnitedStatesCode,Section2261A(2)(B).
                                             CO U N T 3
                                            u---.----+.qtels u qe a x <
                                      18U.S.C.j2261A(2)(B)
          Beginning in or around December 2020 and continuing through on oraboutJanuary 7,

   2021,in Brow ard County,in the Southern DistrictofFlorida,and elsew here,the defendant,

                               CH A RLE S TER R AN CE JO H N SO N ,

   did, with the intent to harass and intim idate, use an interactive com puter selwice, electronic

   com m unication service,electronic com m unication system ofinterstate com m erce,and any other

   facility ofinterstateandforeign comm ercetoengagein acourseofconductthatcaused,attem pted

   to cause,and wouldbereasonably expectedto cause substantialem otionaldistressto victim M .C.,

   inviolationofTitle18,UnitedStatesCode,Section2261A(2)(B).
Case 1:21-cr-20195-KMW Document 11 Entered on FLSD Docket 04/02/2021 Page 3 of 5




                                                CO UN T 4
                                                Stalking
                                        18U.S.C.j2261A(2)(B)
            Beginning in or around Novem ber 2020 and continuing through On oraboutD ecem ber

     2020,in Broward County,in the Southern DistrictofFlorida,and elsewhere,the defendant,

                                 CH A RLES TE           CE JO HN SON ,

     did, w ith the intent to harass and intim idate, use an interactive com puter service,electronic

     com m unication service,electronic com m unication system of interstate com m erce,and any other

     facility ofinterstate and foreign com m erce to engage in a course ofconductthatcaused,attem pted

     to cause,andw ould be reasonably expected to cause substantialem otionaldistressto victim L.M .,

     inviolationofTitle18,UnitedStatesCode,Section226lA(2)(B).


                                                        A TRUE BILL
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                                                         FOREPER      N
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                                    a
            .      %                        #

     JUA AN TON IO GON ZALEZ
     A CTIN G UN ITED STATES ATTORN EY



     ST PHEN J EM AN OVICH
     ASSISTAN T UN ITED STATES A TTORN EY
Case 1:21-cr-20195-KMW Document 11 Entered on FLSD Docket 04/02/2021 Page 4 of 5
                                             UNITED STATES DISTRICT CO URT
                                            SOUTHERN DISTR ICT O F FLO RIDA

UNITED STATES OF AM ERICA

                                                              C ERTIFICATE O F TRIAL ATTO RNEY.
CHARLESTERRANCE JOHNSON
                                                              Superseding Case Inform ation:
                             Defendant.         /

CourtDivijiop:(selectOne)                                     New defendantts)           YeS
7      M laml              Key W est                          Num berofnew defendants
       FTL                 W PB           FTP                 Totalnumberofcounts

                lhave carefully considered the allegations ofthe indictment,the numberofdefendants,the numberof
                probablewitnessesand the legalcomplexitiesofthelndictment/lnformation attachedhereto.
                lam aware thatthe information supplied on this statementwillbe relied upon by the Judges ofthis
                Courtin setting their calendarsand scheduling crim inaltrials underthe mandate ofthe Speedy Trial
                Act,Title 28 U.S.C.Section 3161.
                lnterpreter:       (YesorNo)             No
                Listlanguage and/ordialect
                Thiscase willtake 4 daysforthepartiestotry.
                Pleasecheck appropriatecategory and typeofoffense listed below:
                (Cbeckonly one)                                      (Checkonlyone)

       l        0 to 5 days                         ?'               Petty
       11       6 to 10 days                                         M inor
       III      l1to 20 days                                         M isdem .
       IV       21to 60 days                                         Felony               ï
       V        61 daysand over
        6.      HasthiscasepreviouslybeentiledinthisDistrictCourt?                    (YesorNo)   No
         lfyes:Judge                                          CaseN o.
         (Attach copyofdispositiveorder)
         Hasacomplaintbeenfiledinthismatter?                  (YesorNo)         YeS
         lfyes:M agistrate CaseNo.                            21-m 1-02072
         Related m iscellaneousnumbers:
         Defendantts)infederalcustodyasof
         Defendantts)instatecustodyasof
         Rule20 from theDistrictof
         Isthisapotentialdeathpenaltycase?(YesorNo)                      No
                Doesthiscaseoriginatefrom am atterpending in theCentralRegion ofthe U.S.Attorney'sOffice
                priortoAugust9,2013(Mag.JudgeAlicia0.Valle)?                          Yes         No ?'
                Doesthiscaseoriginatefrom am atterpending in theNorthern Region oftheU.S.Attorney'sOftice
                priortoAugust8,2014(M ag.JudgeShaniekM aynard)?                       Yes         No 7
                Doesthiscase originatefrom am atterpending intheCentralRegion ofthe U.S.Attorney'sOffice
                priortoOctober3,2019(M ag.JudgeJaredStrauss)?                           Yes       No ?'
                                                                         T>
                                                                         ,                    &        '
                                                                      STEP EN J.D ANOVICH
                                                                      ASSISTANT UNITED STATES ATTORNEY
 lpenaltySheetts)attached                                                                                  REV6/5/2020
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                             U NITED STATES D ISTRICT CO U RT
                             SO UTH ER N DISTRICT OF FLO RIDA


                                       PENA LTY SHEET


    Defendant's Nam e: CharlesTerranceJohnson

    C ase No:

    Countts)#:1-4
     Stalking

    Title 18,United StatesCode,Section 2261A42)
    A'M ax.penalty: 5 Years'lm risonm ent




     *R efersonly to possible term ofincarceration,does notinclude possible fines,restitution,
               specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
